              Case 2:18-cv-00103-RSL Document 21 Filed 04/20/18 Page 1 of 1




 1
 2
 3
 4
 5                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 6                                        AT SEATTLE
 7   _______________________________________
                                            )
 8                                          )
     XACTWARE SOLUTIONS, INC., et al.,      )                 Case No. C18-0103RSL
 9                                          )
                           Petitioners,     )
10              v.                          )
                                            )                 ORDER DENYING MOTION TO
11   DAVID V. CARLSON, et al.,              )                 COMPEL AND DISMISSING CASE
                                            )
12                         Respondents.     )
     _______________________________________)
13
14          This matter comes before the Court on petitioner’s motion to compel compliance with
15   subpoenas issued in connection with a patent infringement case pending in the District of New
16   Jersey. Xactware sought discovery related to an inequitable conduct defense it asserted in the
17   underlying case. Dkt. # 1 at 5. That defense has now been stricken, a fact which respondents
18   brought to the Court’s attention on April 9, 2018. Dkt. # 19. Xactware has not shown that the
19   discovery it seeks is relevant to any claim or defense at issue in the underlying litigation. That
20   Xactware may, at some future date, be able to adequately allege inequitable conduct does not
21   make the issue relevant or otherwise the proper subject of discovery. The motion to compel is
22   therefore DENIED and this matter is DISMISSED.
23          Dated this 20th day of April, 2018.
24
25
                                                A
                                                Robert S. Lasnik
26                                              United States District Judge

     ORDER DENYING MOTION TO COMPEL
     AND DISMISSING CASE
